                                                                               "#/  /'#/ #$/    ("$/
                                                                                 %/, )"/+/
                                                                                        /
                             UNITED STATES DISTRICT COURT
                                                                                  4/2/2024
                             WESTERN DISTRICT OF VIRGINIA                      ("//(#$/  "/
                                      LYNCHBURG DIVISION                       -/ ./"/$$
                                                                                    !*&-/ "/


  UNITED STATES OF AMERICA                         NO. 6:23-cr-00008

                        v.
                                                   ORDER

  ANDREW KENT,
                                                   JUDGE NORMAN K. MOON
                                      Defendant.



       Defendant Andrew Kent’s sentencing is scheduled July 10, 2024 at 11:00 AM. At

sentencing, the Court must place on the record an “individualized assessment based on the

particular facts of the case before it,” whether the Court “imposes an above, below, or within-

Guidelines sentence.” United States v. Carter, 564 F.3d 325, 330 (4th Cir. 2009) (internal

quotation marks omitted). “[E]very sentence requires an adequate explanation,” however, “a more

complete and detailed explanation of a sentence is required when departing from the advisory

Sentencing Guidelines, and a major departure should be supported by a more significant

justification than a minor one.” United States v. Hernandez, 603 F.3d 267, 271 (4th Cir. 2010)

(internal quotation marks omitted).

       Accordingly, to ensure that full consideration be given to each and every non-frivolous

argument raised by the parties, and that the Court is fully responsive thereto on the record at

sentencing, if Defendant intends to make a sentencing recommendation to the Court below the

median of the advisory Sentencing Guideline range as calculated in the presentence report, or if

the United States intends to make a sentencing recommendation to the Court above said median,

whether such a recommendation is in the form of a specific sentence or general range of
punishment, they are hereby ORDERED to file a sentencing memorandum which includes the

recommendation and grounds in support thereof, no fewer than seven (7) days 1 before sentencing. 2

       Should a party choose to make a recommendation for a sentence outside the advisory

Sentencing Guideline range as calculated in the presentence report, the grounds in support thereof

must be stated with greater particularity, although in no event shall citation to precedent be

necessary. No written response to the opposing party’s sentencing memorandum shall be required,

unless specifically so directed by the Court. 3

       It is so ORDERED.

       The Clerk of Court is directed to send this Order to all counsel of record.

                    2nd day of April, 2024.
       Entered this _____




   1
      Should the sentencing hearing be reset for a later date, the seven-day deadline will apply as
to the new date.
   2
      The United States shall not be required to file a separate sentencing memorandum pursuant
to this Order if it intends to file a motion for substantial assistance under 18 U.S.C. § 3553(e) and
U.S.S.G. § 5K1.1.
   3
      This Order in no way shall supplant or otherwise interfere with the parties’ separate obligation
under Rule 32(f) of the Federal Rules of Criminal Procedure, which states that “[w]ithin 14 days
after receiving the presentence report, the parties must state in writing any objections, including
objections to material information, sentencing guideline ranges, and policy statements contained
in or omitted from the report.” Thereafter, only upon a showing of good cause will the Court allow
a party to make a new objection to the presentence report. See Fed. R. Crim. P. 32(i)(1)(D).

                                                  –2–
